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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 15-CV-22208-AMS

  BEYMAR OSIEL PEREZ RAMIREZ,            )
  and all others similarly situated under)
  29 U.S.C. § 216(b),                    )
                                         )
              Plaintiff,                 )
                                         )
        vs.
                                         )
                                         )
  PINNACLE A ROOFING COMPANY,            )
  PINNACLE ROOFING INC., and ROBERT      )
  THOMAS                                 )
                                         )
              Defendants.                )
  _______________________________________)

              JOINT MOTION FOR COURT APPROVAL OF SETTLEMENT AND
                       DISMISSAL OF CASE WITH PREJUDICE

         The Parties, by and through their undersigned counsel, respectfully move this Court for

  approval of their Settlement Agreement and Mutual Release, resolving the matter as set forth

  therein. In support thereof, the Parties state as follows:

          1.     Plaintiff BEYMAR OSIEL PEREZ RAMIREZ filed claims under case number

  15-cv-22208-AMS under the Fair Labor Standards Act (FLSA), the Florida Statutes, and the

  Florida Constitution for minimum wage and overtime wages whereby Plaintiff alleged that he

  was not paid the appropriate minimum wages and overtime wages for the work he performed for

  Defendants, as well as a claim of unlawful retaliation under 29 U.S.C. § 215.

         2.      Defendants deny Plaintiff’s allegations in their entirety and assert affirmative

  defenses. Defendants state that Plaintiff was properly compensated for all hours worked during

  their employment, that only de minimis wages (if any) are due or owing and that there was no

  unlawful retaliation of any sort by Defendants against Plaintiff. However, Defendants and
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  Plaintiff have agreed to enter into a settlement agreement for the sole purpose of avoiding the

  costs and uncertainty of litigation.

         3.      The Parties have engaged in settlement negotiations, resulting in an accord and

  satisfaction embodied in the Confidential Settlement Agreement Waiver and Release the Parties

  signed, and which the Parties believe and agree represents a fair, reasonable, and adequate

  settlement of Plaintiff’s claims against Defendants.

         4.      A copy of the Confidential Settlement Agreement Waiver and Release has been

  submitted to the Court via email simultaneously with the filing of this Motion.

         5.      The Parties are in agreement that this Court may enter an Order Approving

  Settlement Agreement, Dismissing Complaint, with Prejudice, as to Defendants, and Closing

  Case, after scrutinizing the settlement for fairness and approving the settlement. See Lynn’s

  Food Stores, Inc. v. United States, 679 F.2d 1350, 1352-53 (11th Cir. 1982).

         6.      Aside from Plaintiff and Defendants, there are no other parties to this action.

         WHEREFORE, the Parties respectfully request that this Court: (1) approve the Parties’

  Confidential Settlement Agreement Waiver and Release, resolving the matter on the terms set

  forth therein; and (2) dismiss, with prejudice, this case against Defendants; (3) retain jurisdiction

  for the limited purpose of enforcing the Parties’ Confidential Settlement Agreement Waiver and

  Release.

         Respectfully submitted,



   /s/ Allyson Morgado                                   /s/ Barry O. Chase
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   ATTORNEYS FOR PLAINTIFFS                ATTORNEYS FOR DEFENDANTS




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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 15-CV-22208-AMS

  BEYMAR OSIEL PEREZ RAMIREZ,            )
  and all others similarly situated under)
  29 U.S.C. § 216(b),                    )
                                         )
              Plaintiff,                 )
                                         )
        vs.
                                         )
                                         )
  PINNACLE A ROOFING COMPANY,            )
  PINNACLE ROOFING INC., and ROBERT      )
  THOMAS                                 )
                                         )
              Defendants.                )
  _______________________________________)

        ORDER APPROVING JOINT MOTION FOR APPROVAL OF PARTIES’
    SETTLEMENTAGREEMENT AND STIPULATED DISMISSAL WITH PREJUDICE

           Having reviewed the Confidential Settlement Agreement Waiver and Release between

  Plaintiff, BEYMAR OSIEL PEREZ RAMIREZ and Defendants, PINNACLE A ROOFING

  COMPANY and ROBERT THOMAS, and it appearing to the Court that due cause exists to

  approve settlement and dismiss the case with prejudice regarding Plaintiff’s claims against

  Defendants Pinnacle A Roofing Company and Robert Thomas, with the Court to retain

  jurisdiction to enforce the terms of the Confidential Settlement Agreement Waiver and Release,

  it is:

           ORDERED, and ADJUDGED that the Settlement Agreement is hereby APPROVED

  by the Court under Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350 (11th Cir. 1982), and

  this case is DISMISSED WITH PREJUDICE as to of Plaintiff’s claims against Defendants

  Pinnacle A Roofing Company and Robert Thomas, pursuant to the terms of the Confidential


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  Settlement Agreement, Waiver and Release and with the Court to retain jurisdiction to enforce

  the terms of the Confidential Settlement Agreement, Waiver and Release.

         DONE AND ORDERED in chambers, at Miami, Florida, this ______ day of

  ________________ 2016.

                                             ____________________________________
                                             ANDREA M. SIMONTON
                                             UNITED STATES MAGISTRATE JUDGE
  cc: All Counsel of Record




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